             Case 3:14-cr-00175-WHA Document 962 Filed 01/10/19 Page 1 of 7



 1   JENNER & BLOCK LLP
        Randy Mehrberg (pro hac vice)
 2      RMehrberg@jenner.com
        Reid J. Schar (pro hac vice)
 3
        RSchar@jenner.com
 4      353 N. Clark Street
        Chicago, IL 60654-3456
 5   Telephone: +1 312 222 9350
     Facsimile: +1 312 527 0484
 6
     CLARENCE DYER & COHEN LLP
 7
        Kate Dyer (Bar No. 171891)
 8      kdyer@clarencedyer.com
        899 Ellis Street
 9      San Francisco, CA 94109-7807
     Telephone:    +1 415 749 1800
10   Facsimile:    +1 415 749 1694
11
     Attorneys for Defendant PACIFIC GAS AND ELECTRIC
12   COMPANY

13
                                   UNITED STATES DISTRICT COURT
14                                NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
15

16
     UNITED STATES OF AMERICA,                             Case No. 14-CR-00175-WHA
17
                                  Plaintiff,               RESPONSE TO REQUEST FOR FURTHER
18                                                         INFORMATION RE ATLAS FIRE
            v.
19                                                         Judge: Hon. William Alsup
     PACIFIC GAS AND ELECTRIC COMPANY,                     Date: January 10, 2019
20
                                  Defendant.
21

22

23          Defendant Pacific Gas and Electric Company (“PG&E”) submits this response to the Court’s
24   January 3, 2018 Request for Further Information Re Atlas Fire (the “Atlas Order”).
25          1.     DATA, DOCUMENTS AND TESTIMONY UNDERLYING THE ATLAS FIRE
                   FACT REPORTS.
26
            With respect to the Court’s request for “all data, documents and testimony underlying the reports
27

28                                                   1
                       RESPONSE TO REQUEST FOR FURTHER INFORMATION RE ATLAS FIRE
                                        Case No. 14-CR-00175-WHA
               Case 3:14-cr-00175-WHA Document 962 Filed 01/10/19 Page 2 of 7



 1   PG&E submitted concerning the Atlas Fire (Exhs. M, FF)”, the requested documents are attached as

 2   Exhibits A through UU. To assist the Court with its review of those materials, PG&E has attached as

 3   Exhibits VV and WW revised versions of the Atlas factual reports that were submitted on December 31,

 4   2018, in response to the Court’s prior order. PG&E has added footnote citations to the text that identify

 5   the data, documents or testimony underlying the factual statements made in the reports with references, by

 6   exhibit number, to the materials submitted in connection with the Atlas Order.1
 7            The Court also requested that PG&E “further explain what privileged and non-privileged

 8   information has not been provided”. PG&E understands this request to concern information that underlies

 9   the Atlas Fire factual reports that were provided in PG&E’s December 31, 2018 submission.

10            With respect to the first category—privileged information underling the Atlas Fire factual reports—

11   there are three documents that are protected by the attorney work product doctrine that have not been

12   provided to the Court as part of this submission. Those three documents are described in the privilege log

13   attached as Exhibit XX. As indicated in that log, the three documents are memoranda prepared by PG&E’s

14   civil litigation counsel concerning interviews of PG&E employees that they conducted as part of preparing

15   the Company’s defense to the pending civil litigation. Although observations concerning the potential

16   origin sites made by these PG&E employees during these interviews underlie certain statements included

17   in the factual reports, PG&E respectfully submits that the attorney-prepared memoranda should remain

18   privileged.2
19            With respect to the latter category—non-privileged information underlying the Atlas Fire factual

20
     1
       During the course of preparing this submission, PG&E concluded that four of the vegetation management Catastrophic Event
21   Memorandum Account (“CEMA”) patrols identified in the Atlas Fire supplemental report (Dec. 31, 2018 Response, Exhibit
     FF) as patrols of the CAL FIRE incident locations should not have been included in the list of relevant inspections and patrols.
22   These four CEMA patrols, which occurred in April-May 2016, October-November 2016, May 2017 and October 2017, were
     originally included in the Atlas Fire supplemental report because the patrols were conducted on the same electrical circuit as
23   the incident locations. Upon further review of the relevant documentation, PG&E has confirmed that although these patrols
     did take place on portions of the relevant circuit, the patrols did not include the CAL FIRE incident locations because those
24   incident locations did not satisfy the criteria for inclusion in these types of CEMA patrols. Accordingly, PG&E has removed
     those four CEMA patrols from the revised Atlas Fire supplemental report submitted with this filing. In addition, PG&E has
25   also corrected the date on one overhead patrol which was conducted on September 7, 2014, rather than September 8, 2014.
     2
       As discussed further below, there is additional privileged information relevant to the Atlas Fire that has been withheld from
26
     (or has been outside the scope of) ongoing regulatory and litigation productions. That privileged information did not underlie
     the Atlas Fire factual reports but is described below to provide the Court with an overview of the additional categories of
27
     information that exist related to the Atlas Fire.
28                                                        2
                            RESPONSE TO REQUEST FOR FURTHER INFORMATION RE ATLAS FIRE
                                             Case No. 14-CR-00175-WHA
              Case 3:14-cr-00175-WHA Document 962 Filed 01/10/19 Page 3 of 7



 1   reports—PG&E has provided the Court with all non-privileged information underlying the Atlas Fire

 2   factual reports (i.e., Exhibits A through UU).

 3          2.      OTHER MATERIALS POTENTIALLY RELEVANT TO THE ATLAS FIRE.
 4          In addition to the data, documents and privileged interview memoranda specifically underlying the

 5   Atlas Fire factual reports submitted to the Court, there is voluminous information potentially relating to

 6   the Atlas Fire that PG&E has provided to the California Public Utilities Commission (“CPUC”), California

 7   Department of Forestry and Fire Protection (“CAL FIRE”) and plaintiffs in the pending civil litigation.

 8   What follows sets forth the scope of the information that has been provided to each of these parties, as well

 9   as potentially relevant information, if any, that has been withheld from those productions.

10          A.      CPUC Requests
11          The CPUC has made over 400 requests to PG&E for information and documents relating to the

12   October 2017 North Bay Wildfires. The CPUC continues to request additional information and PG&E is

13   continuing to respond to those new requests. Of the requests received to date, approximately 100 of them

14   explicitly seek information concerning the Atlas Fire. Examples of such requests are attached as Exhibits

15   YY, ZZ and AAA. In response to those requests that explicitly relate to the Atlas Fire, PG&E has produced

16   approximately 470 pages of documents.

17          The CPUC has also issued numerous requests that relate explicitly to other October 2017 North

18   Bay Wildfires and more than 30 general requests that are not fire-specific and seek information about topics

19   like PG&E corporate policies, practices and records. Documents that have been requested as part of this

20   latter category—the non-fire specific requests—could bear upon issues related to the Atlas Fire. Examples

21   of those requests are attached as Exhibits BBB and CCC. PG&E has produced approximately 2100 pages

22   of documents in response to those general non-fire specific requests.

23          In responding to the CPUC’s requests, PG&E withheld limited information. First, PG&E withheld

24   photographs that PG&E personnel, working at counsel’s direction in connection with the coordinated

25   proceeding pending in the Superior Court for the State of California, San Francisco (the “California North

26

27

28                                                    3
                        RESPONSE TO REQUEST FOR FURTHER INFORMATION RE ATLAS FIRE
                                         Case No. 14-CR-00175-WHA
               Case 3:14-cr-00175-WHA Document 962 Filed 01/10/19 Page 4 of 7



 1   Bay Fire Cases”), took at or near the potential origin points of the October 2017 North Bay Wildfires.3
 2   Second, PG&E did not produce the records of aerial patrols and drone footage taken of certain October

 3   2017 North Bay Wildfires incident locations at the request and direction of PG&E’s counsel. These items

 4   are identified on the privilege log attached as Exhibit DDD.4 In addition, PG&E did not disclose the names
 5   of its expert consultants in response to a data request seeking the names and company affiliation of all

 6   expert consultants PG&E had retained, as those expert consultants’ names constitute privileged work

 7   product until such time as they may be disclosed as testifying experts in the civil litigation.

 8           B.       CAL FIRE Requests
 9           PG&E has also been actively responding to data and information requests from CAL FIRE in

10   connection with the October 2017 North Bay Wildfires. CAL FIRE sent PG&E requests for certain

11   categories of information and indicated that they wanted each such category for each of approximately 20

12   potential fire incident locations. One of the potential fire incident locations for which CAL FIRE requested

13   information was the Atlas 2 incident location. CAL FIRE’s requests to PG&E are attached as Exhibit EEE.

14   PG&E has responded to each of those requests and has produced approximately 800 pages of documents

15   related to the Atlas 2 incident location and approximately 141,000 pages of documents related to the other

16   potential fire incident locations. CAL FIRE also sent a supplemental request for categories of information

17   related to several potential fire incident locations, including the Atlas 2 incident location, as well as an

18   additional request specifically relating to the Atlas Fire. Those requests are attached as Exhibit FFF.

19   PG&E responded to the specific Atlas Fire request by producing the Atlas Fire factual summary submitted

20   to the Court as Exhibit M on December 31, 2018.

21           In responding to CAL FIRE’s requests, PG&E did not withhold any information.

22           C.       California North Bay Fire Cases Plaintiffs’ Requests
23           In connection with the California North Bay Fire Cases, the plaintiffs have served more than 2,200

24

25   3
       PG&E subsequently produced some of these photographs to the civil plaintiffs after securing a non-waiver agreement.
     PG&E is also producing these photographs to the CPUC. The remaining photographs that will continue to be withheld from
26   these productions are included in the privilege log attached as Exhibit DDD.
     4
      The privilege log does not include entries relating to any data or documents PG&E’s expert consultants may have collected,
27
     which is discussed in more detail in Section 2.C, infra.
28                                                       4
                           RESPONSE TO REQUEST FOR FURTHER INFORMATION RE ATLAS FIRE
                                            Case No. 14-CR-00175-WHA
               Case 3:14-cr-00175-WHA Document 962 Filed 01/10/19 Page 5 of 7



 1   requests for production related to the various October 2017 North Bay Wildfires. Approximately 130 of

 2   those requests sought information specifically related to the Atlas Fire. Examples of such requests are

 3   attached as Exhibit GGG. To date, PG&E has produced approximately 62,000 pages of documents relating

 4   to those Atlas-specific requests (some of which were also previously produced to the CPUC and CAL

 5   FIRE).

 6            In addition, the plaintiffs have served over 100 requests seeking information that is not specifically

 7   related to the Atlas Fire, but arguably could bear upon issues related to the Atlas Fire as well as the other

 8   October 2017 North Bay Wildfires. An example of such requests is attached as Exhibit HHH. To date,

 9   PG&E has produced approximately 47,000 pages of documents in response to those requests, and continues

10   to make rolling document productions to the plaintiffs.

11            The plaintiffs have also served approximately 42 interrogatories and one request for admission

12   identified as relating to the Atlas Fire. PG&E has responded to those interrogatories and the request for

13   admission and can provide its responses to the Court upon request.

14            In connection with discovery in the civil litigation, PG&E has withheld a limited number of

15   documents on the basis of attorney-client privilege or attorney work product and is producing privilege

16   logs to the plaintiffs on a rolling basis. To date, PG&E has withheld nine documents from its productions

17   in the civil litigation that are specifically related to the Atlas Fire. A privilege log with these entries is

18   attached as Exhibit III. In addition, PG&E has withheld 160 documents from its productions in the civil

19   litigation that are responsive to non-fire specific document requests. It is possible that some of those

20   documents could bear upon issues related to the Atlas Fire. A privilege log identifying those documents

21   is attached as Exhibit JJJ.5
22            Finally, as part of its ongoing defense of the pending civil litigation, PG&E has retained various

23   categories of consulting experts. Some of those experts may ultimately be disclosed as testifying experts,

24   at which time their identities, opinions and other related materials will become subject to litigation

25

26   5
      PG&E also has not produced categories of privileged information that are routinely excluded from litigation disclosure such
     as the work files of its litigation counsel and individuals working at their direction, privileged communications between
27
     PG&E’s outside counsel and PG&E and privileged communications involving PG&E’s internal counsel.
28                                                       5
                           RESPONSE TO REQUEST FOR FURTHER INFORMATION RE ATLAS FIRE
                                            Case No. 14-CR-00175-WHA
             Case 3:14-cr-00175-WHA Document 962 Filed 01/10/19 Page 6 of 7



 1   disclosures. There is no current deadline for such expert disclosures in the pending civil litigation.

 2   Examples of the types of experts retained by PG&E include:

 3              1. Fire Cause and Origin Experts: These consultants are trained fire investigators, formerly

 4                  of various fire departments, who are analyzing available evidence concerning many of the

 5                  October 2017 North Bay Wildfires to determine, to the extent they can, where they

 6                  believe each fire may have originated and what the ignition source may have been.

 7              2. Electrical Engineering Experts: These consultants are analyzing PG&E’s electrical

 8                  facilities and data concerning the operation of those facilities to determine what the

 9                  available evidence may say about fire ignition.

10              3. Arborists: These consultants are analyzing the vegetation around PG&E’s electrical

11                  facilities near potential origin points to determine whether such vegetation may have

12                  contributed to fire ignition and to determine, where possible, information concerning the

13                  size, placement and health of potentially relevant vegetation.

14              4. Fire Modeling Experts: These consultants are analyzing the available evidence to

15                  formulate opinions as to how particular fires may have spread (e.g., in what direction, at

16                  what pace) and whether the spread patterns can provide insight into the potential origin

17                  point or points of a particular fire.

18              5. Wind Experts: These consultants are analyzing available data and topological

19                  information to form opinions as to the precise wind speeds that were experienced at or

20                  near the alleged origin points of various October 2017 North Bay Wildfires.

21              6. Climate Change Experts: These consultants are assessing the recent changes in

22                  California’s climate and the impact that climate change, particularly extensive drought

23                  and tree mortality, has had on wildfire ignitions and spread.

24

25

26

27

28                                                   6
                       RESPONSE TO REQUEST FOR FURTHER INFORMATION RE ATLAS FIRE
                                        Case No. 14-CR-00175-WHA
            Case 3:14-cr-00175-WHA Document 962 Filed 01/10/19 Page 7 of 7



 1                                                        Respectfully Submitted,

 2   Dated: January 10, 2019                              JENNER & BLOCK LLP
 3

 4
                                                    By:     /s/ Reid J. Schar
 5                                                        Randy Mehrberg (pro hac vice)
                                                          Reid J. Schar (pro hac vice)
 6

 7                                                         CLARENCE DYER & COHEN LLP
                                                              Kate Dyer (Bar No. 171891)
 8
                                                    Attorneys for Defendant PACIFIC GAS AND
 9                                                  ELECTRIC COMPANY

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                 7
                     RESPONSE TO REQUEST FOR FURTHER INFORMATION RE ATLAS FIRE
                                      Case No. 14-CR-00175-WHA
